          Case 22-08993                         Doc 13               Filed 08/12/22 Entered 08/12/22 23:12:52                                                  Desc Imaged
                                                                    Certificate of Notice Page 1 of 4
Information to identify the case:

                       Sherry L D'Agostino                                                      Social Security number or ITIN:      xxx−xx−0635
Debtor 1:
                                                                                                EIN: _ _−_ _ _ _ _ _ _
                       First Name    Middle Name     Last Name

Debtor 2:                                                                                       Social Security number or ITIN: _ _ _ _
(Spouse, if filing)    First Name    Middle Name     Last Name                                  EIN: _ _−_ _ _ _ _ _ _

United States Bankruptcy Court:     Northern District of Illinois                                   Date case filed for chapter:            13        8/9/22

Case number:          22−08993

Official Form 309I
Notice of Chapter 13 Bankruptcy Case                                                                                                                                10/20


For the debtors listed above, a case has been filed under chapter 13 of the Bankruptcy Code. An order for relief has
been entered.
This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to collect debts
from the debtors, the debtors' property, and certain codebtors. For example, while the stay is in effect, creditors cannot sue, garnish wages, assert a
deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot demand repayment from debtors by mail, phone, or
otherwise. Creditors who violate the stay can be required to pay actual and punitive damages and attorney's fees. Under certain circumstances, the stay
may be limited to 30 days or not exist at all, although debtors can ask the court to extend or impose a stay.
Confirmation of a chapter 13 plan may result in a discharge. Creditors who assert that the debtors are not entitled to a discharge under 11 U.S.C. §
1328(f) must file a motion objecting to discharge in the bankruptcy clerk's office within the deadline specified in this notice. Creditors who want to have
their debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office by the same deadline. (See line 13 below for more
information.)
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below or
through PACER (Public Access to Court Electronic Records at https://pacer.uscourts.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.
Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.

                                                   About Debtor 1:                                                         About Debtor 2:
1. Debtor's full name                              Sherry L D'Agostino

2. All other names used in the
   last 8 years
                                                   456 Blue Heron Cir
3. Address                                         Bartlett, IL 60103−2307
                                                   Joseph S Davidson                                                      Contact phone 847−985−1100
                                                   Law Offices of Joseph P. Doyle, LLC                                    Email: jdavidson@fightbills.com
   Debtor's attorney
4. Name                                            105 S Roselle Rd
        and address                                Suite 203
                                                   Schaumburg, IL 60193

5. Bankruptcy trustee                              Thomas H. Hooper                                                        Contact phone 312−294−5900
     Name and address                              Office of the Chapter 13 Trustee
                                                   55 E. Monroe St.
                                                   Suite 3850
                                                   Chicago, IL 60603

6. Bankruptcy clerk's office                                                                                               Hours open:
     Documents in this case may be filed           Eastern Division                                                        8:30 a.m. until 4:30 p.m. except Saturdays,
     at this address.                              219 S Dearborn                                                          Sundays and legal holidays.
     You may inspect all records filed in          7th Floor                                                               Contact phone 1−866−222−8029
     this case at this office or online at         Chicago, IL 60604                                                       Date: 8/10/22
      https://pacer.uscourts.gov.
                                                                                                                                   For more information, see page 2




Official Form 309I                                           Notice of Chapter 13 Bankruptcy Case                                                       page 1
         Case 22-08993                     Doc 13          Filed 08/12/22 Entered 08/12/22 23:12:52                                                   Desc Imaged
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Debtor Sherry L D'Agostino                                                                                                               Case number 22−08993
7. Meeting of creditors
    Debtors must attend the meeting to     September 12, 2022 at 01:00 PM                                    Location:
    be questioned under oath. In a joint                                                                     Appear by Video Conference. Visit,
    case, both spouses must attend.                                                                          www.13network.com, Scroll to Illinois −
    Creditors may attend, but are not      The meeting may be continued or adjourned to a                    Thomas H. Hooper
    required to do so.                     later date. If so, the date will be on the court
                                           docket.
                                           Debtors must bring a picture ID and proof of
                                           their Social Security Number.
8. Deadlines                               Deadline to file a complaint to challenge                                Filing deadline: 11/14/22
   The bankruptcy clerk's office must      dischargeability of certain debts:
   receive these documents and any
   required filing fee by the following
   deadlines.                              You must file:
                                           • a motion if you assert that the debtors are
                                               not entitled to receive a discharge under
                                               U.S.C. § 1328(f) or
                                           • a complaint if you want to have a particular
                                               debt excepted from discharge under
                                               11 U.S.C. § 523(a)(2) or (4).
                                           Deadline for all creditors to file a proof of claim                      Filing deadline: 10/18/22
                                           (except governmental units):
                                           Deadline for governmental units to file a proof of                       Filing deadline: 2/6/23
                                           claim:


                                           Deadlines for filing proof of claim:
                                            A proof of claim is a signed statement describing a creditor's claim. A proof of claim form may be obtained at
                                            www.uscourts.gov or any bankruptcy clerk's office.
                                           If you do not file a proof of claim by the deadline, you might not be paid on your claim. To be paid, you must file
                                           a proof of claim even if your claim is listed in the schedules that the debtor filed.
                                           Secured creditors retain rights in their collateral regardless of whether they file a proof of claim. Filing a proof of
                                           claim submits the creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer can explain.
                                           For example, a secured creditor who files a proof of claim may surrender important nonmonetary rights,
                                           including the right to a jury trial.


                                           Deadline to object to exemptions:                                         Filing deadline:    30 days after the
                                           The law permits debtors to keep certain property as exempt. If you                            conclusion of the
                                           believe that the law does not authorize an exemption claimed, you                             meeting of creditors
                                           may file an objection.

9. Filing of plan                          The debtor has filed a plan. The plan is enclosed. The hearing on confirmation will be held on:
                                           10/4/22 at 10:30 AM , Location: Appear Using Zoom for Government, Judge Doyle. To appear by video,
                                           use this link: https://www.zoomgov.com/ or to appear by telephone, call Zoom for Government at
                                           1−669−254−5252 or 1−646−828−7666. Then enter the meeting ID 161 155 8289 and passcode Doyle742.

                                           The Disclosure of Compensation has been filed. The attorney for the debtor is
                                           requesting fees of $ 4500.00
                                           Objections to confirmation of the Plan shall be filed at least 7 days prior to the confirmation
                                           hearing. If there are no objections, the Court may confirm the plan and allow fees requested
                                           by debtor's counsel to be paid through the plan.
10. Creditors with a foreign               If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court to
    address                                extend the deadline in this notice. Consult an attorney familiar with United States bankruptcy law if you have
                                           any questions about your rights in this case.
11. Filing a chapter 13                    Chapter 13 allows an individual with regular income and debts below a specified amount to adjust debts
    bankruptcy case                        according to a plan. A plan is not effective unless the court confirms it. You may object to confirmation of the
                                           plan and appear at the confirmation hearing. A copy the plan, if not enclosed, will be sent to you later, and if the
                                           confirmation hearing is not indicated on this notice, you will be sent notice of the confirmation hearing. The
                                           debtor will remain in possession of the property and may continue to operate the business, if any, unless the
                                           court orders otherwise.
12. Exempt property                        The law allows debtors to keep certain property as exempt. Fully exempt property will not be sold and
                                           distributed to creditors, even if the case is converted to chapter 7. Debtors must file a list of property claimed as
                                           exempt. You may inspect that list at the bankruptcy clerk's office or online at https://pacer.uscourts.gov. If you
                                           believe that the law does not authorize an exemption that debtors claimed, you may file an objection by the
                                           deadline.
13. Discharge of debts                     Confirmation of a chapter 13 plan may result in a discharge of debts, which may include all or part of a debt.
                                           However, unless the court orders otherwise, the debts will not be discharged until all payments under the plan
                                           are made. A discharge means that creditors may never try to collect the debt from the debtors personally except
                                           as provided in the plan. If you want to have a particular debt excepted from discharge under 11 U.S.C. §
                                           523(a)(2) or (4), you must file a complaint and pay the filing fee in the bankruptcy clerk's office by the deadline.
                                           If you believe that the debtors are not entitled to a discharge of any of their debts under 11 U.S.C. § 1328(f), you
                                           must file a motion by the deadline.




Official Form 309I                                    Notice of Chapter 13 Bankruptcy Case                                                     page 2
           Case 22-08993                Doc 13          Filed 08/12/22 Entered 08/12/22 23:12:52                                     Desc Imaged
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                                                              United States Bankruptcy Court
                                                               Northern District of Illinois
In re:                                                                                                                 Case No. 22-08993-CAD
Sherry L D'Agostino                                                                                                    Chapter 13
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0752-1                                                  User: admin                                                                 Page 1 of 2
Date Rcvd: Aug 10, 2022                                               Form ID: 309I                                                             Total Noticed: 22
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Aug 12, 2022:
Recip ID                   Recipient Name and Address
db                         Sherry L D'Agostino, 456 Blue Heron Cir, Bartlett, IL 60103-2307
29873104               +   Bay Point Capital Partners, LP, c/o Easycorps, LLC, 257 Old Churchmans Rd, New Castle, DE 19720-1529
29873103               +   Bay Point Capital Partners, LP, 2 Buckhead Plz, 3050 Peachtree Rd NW, Suite 740, Atlanta, GA 30305-2212
29873105               +   Bay Point Capital Partners, LP, c/o Manetti Aguilera Seiler LLC, 2213 Lakeside Dr, Deerfield, IL 60015-1265
29873106               +   Capital Bank N.A., 2275 Research Blvd, Suite 600, Rockville, MD 20850-6238
29873114                   Michael A Pellegrino, 456 Blue Heron Dr, Bartlett, IL 60103-2307

TOTAL: 6

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                   Notice Type: Email Address                                   Date/Time                 Recipient Name and Address
aty                        Email/Text: jdavidson@fightbills.com
                                                                                        Aug 10 2022 22:28:00      Joseph S Davidson, Law Offices of Joseph P.
                                                                                                                  Doyle, LLC, 105 S Roselle Rd, Suite 203,
                                                                                                                  Schaumburg, IL 60193
tr                     + Email/Text: bncnotice@chicagoch13.com
                                                                                        Aug 10 2022 22:29:00      Thomas H. Hooper, Office of the Chapter 13
                                                                                                                  Trustee, 55 E. Monroe St., Suite 3850, Chicago, IL
                                                                                                                  60603-5764
ust                    + Email/Text: USTPREGION11.ES.ECF@USDOJ.GOV
                                                                                        Aug 10 2022 22:29:00      Patrick S Layng, Office of the U.S. Trustee,
                                                                                                                  Region 11, 219 S Dearborn St, Room 873,
                                                                                                                  Chicago, IL 60604-2027
29873102               + Email/Text: EBNProcessing@afni.com
                                                                                        Aug 10 2022 22:29:00      Afni, Inc., Attn: Bankruptcy, Po Box 3427,
                                                                                                                  Bloomington, IL 61702-3427
29873107                   Email/Text: CAF_Bankruptcy_Department@carmax.com
                                                                                        Aug 10 2022 22:29:00      CarMax Auto Finance, Attn: Bankruptcy, Po Box
                                                                                                                  440609, Kennesaw, GA 30160
29873108               + Email/Text: bkcy@creditmgt.com
                                                                                        Aug 10 2022 22:29:00      Credit Management Control, Inc, Attn:
                                                                                                                  Bankruptcy, Po Box 1654, Green Bay, WI
                                                                                                                  54305-1654
29873109               + Email/Text: bknotice@ercbpo.com
                                                                                        Aug 10 2022 22:29:00      Enhanced Recovery Company, Attn: Bankruptcy,
                                                                                                                  8014 Bayberry Rd, Jacksonville, FL 32256-7412
29873110               + EDI: AMINFOFP.COM
                                                                                        Aug 11 2022 02:28:00      First Premier Bank, Attn: Bankruptcy, Po Box
                                                                                                                  5524, Sioux Falls, SD 57117-5524
29873111               + Email/Text: FirstProgressCorrespondence@acttoday.com
                                                                                        Aug 10 2022 22:29:00      First Progress, Attn: Bankruptcy, Po Box 9053,
                                                                                                                  Johnson City, TN 37615-9053
29873112               + Email/Text: PBNCNotifications@peritusservices.com
                                                                                        Aug 10 2022 22:28:00      Kohls/Capital One, Attn: Credit Administrator, Po
                                                                                                                  Box 3043, Milwaukee, WI 53201-3043
29873113               + Email/PDF: MerrickBKNotifications@Resurgent.com
                                                                                        Aug 10 2022 22:41:35      Merrick Bank Corp, Po Box 9201, Old Bethpage,
                                                                                                                  NY 11804-9001
29873115               + Email/Text: bankruptcydpt@mcmcg.com
                                                                                        Aug 10 2022 22:29:00      Midland Funding, LLC, Attn: Bankruptcy, Po Box
                                                                                                                  939069, San Diego, CA 92193-9069
29873116               + EDI: NAVIENTFKASMSERV.COM
                                                                                        Aug 11 2022 02:28:00      Navient, Attn: Bankruptcy, Po Box 9500,
                                                                                                                  Wilkes-Barre, PA 18773-9500
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District/off: 0752-1                                              User: admin                                                             Page 2 of 2
Date Rcvd: Aug 10, 2022                                           Form ID: 309I                                                         Total Noticed: 22
29873117              + EDI: NAVIENTFKASMSERV.COM
                                                                                   Aug 11 2022 02:28:00     Navient Solutions Inc, Attn: Bankruptcy, P.O. Box
                                                                                                            9500, Wilkes-Barre, PA 18773-9500
29873118              + Email/PDF: resurgentbknotifications@resurgent.com
                                                                                   Aug 10 2022 22:41:37     Resurgent Capital Services, Attn: Bankruptcy, Po
                                                                                                            Box 10497, Greenville, SC 29603-0497
29873119              + Email/Text: Bankruptcy@TekCollect.com
                                                                                   Aug 10 2022 22:29:00     TekCollect Inc, Attn: Bankruptcy, Po Box 1269,
                                                                                                            Columbus, OH 43216-1269

TOTAL: 16


                                                    BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                   NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Aug 12, 2022                                        Signature:           /s/Gustava Winters




                                 CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on August 10, 2022 at the address(es) listed
below:
Name                             Email Address
Joseph S Davidson
                                 on behalf of Debtor 1 Sherry L D'Agostino jdavidson@fightbills.com
                                 courtnotice@fightbills.com;courts@fightbills.com;davidson.josephr44937@notify.bestcase.com

Patrick S Layng
                                 USTPRegion11.ES.ECF@usdoj.gov

Thomas H. Hooper
                                 thomas.h.hooper@chicagoch13.com


TOTAL: 3
